          Case 1:16-cv-11861-PBS Document 5 Filed 10/11/16 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



Andrea Genovese
      Plaintiff
                                                              CIVIL ACTION
               V.
                                                              NO. 1:16-cv-11861-PBS
 Asset Recovery Solutions, LLC;
and DOES 1-10, Inclusive
       Defendants


                           SETTLEMENT ORDER OF DISMISSAL


SARIS, Chief Judge


       In accordance with Notice of Settlement filed by the Parties on October 10, 2016,

IT IS ORDERED that this action is hereby dismissed without prejudice to reconsideration and

possible re-opening if within 60 days of this order a motion is filed which represents that the terms

of the settlement agreement have not been performed and there is good cause for the non-performing

party or parties to have failed to perform.



                                                      By the Court,

10/11/2016                                             /s/ Clarilde Geraldino-Karasek

Date                                                  Deputy Clerk
